        Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                                      :
JAKUB MADEJ                                           :
                                                      :       CIVIL ACTION NO.
                       PLAINTIFF                      :       3:20-cv-00133-JCH
                                                      :
v.                                                    :
                                                      :
YALE UNIVERSITY, MARVIN CHUN,                         :
MARK SCHENKER, PETER SALOVEY AND                      :
JESSIE ROYCE HILL                                     :
                                                      :
                       DEFENDANTS                     :
                                                      :       DECEMBER 7, 2020

     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO QUASH AND MOTION
                 FOR ORDER REGARDING DEPOSITIONS

        The defendants have moved to quash the November 30, 2020 and December 2, 2020

notices of deposition for Mark Schenker, Sarah Insley, and a representative of Yale University.

The defendants have also moved for an order staying the taking of any depositions until after the

Court’s ruling on the defendants’ motion to dismiss. The basis for this motion, as set forth in this

memorandum is that the plaintiff has steadfastly refused to identify a court stenographer who will

be transcribing the depositions and the plaintiff is insisting on administering the oath to witnesses

himself, which is forbidden by the Federal Rules of Civil Procedures. Accordingly, the notices of

deposition should be quashed and the Court should enter an order postponing all depositions until

the Court has ruled on the defendants’ motion to dismiss the Second Amended Complaint.

I.      The Plaintiff Improperly Intends to Serve as the Officer Before Whom the
        Depositions are Taken.

        On November 30, 2020, the plaintiff issued notices of deposition for Mark Schenker, Sarah

Insley, and Yale University to occur on December 14, 2020, December 16, 2020, and December
         Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 2 of 9




18, 2020, respectively.1 The following day, defense counsel agreed to accept service of the

subpoena directed to Dean Insley, as requested by plaintiff, and to speak to all of the witnesses to

schedule the depositions.2 Defense counsel also pointed out that the plaintiff was not permitted to

swear witnesses himself. (Ex. B, p. 4.) Defense counsel also asked the plaintiff to identify his

court reporter. Id. In response, the plaintiff failed to even address the identity of the court reporter

and reiterated his intention to swear the witnesses himself: “I happen to be authorized to administer

oaths in Connecticut. An affidavit attesting thereto will follow. I will place each deponent under

oath.” (Ex. B, p. 3.)

        On December 2, 2020, defense counsel informed the plaintiff that, before any deposition

dates would be agreed upon, the plaintiff and defense counsel would have to reach an agreement

on who would administer the oath, the identity of the court reporting service, and the technology

to be used. Defense counsel indicated a preference to conduct the depositions over Zoom and

offered to recommend several court reporting services if the plaintiff needed that information.

Defense counsel also informed the plaintiff that he had been unable to locate any rule or case

permitting the plaintiff, as a pro se party, to administer the oath to the witnesses. Defense counsel

requested a reply as to the above issues to avoid motion practice. (Ex. B, p. 2.) While the plaintiff

agreed to conduct the depositions via Zoom, he again failed to identify his court reporter. Instead,

he stated: “I am a notary public in Connecticut. I will say so on the record and state the date my

commission expires (June 30, 2025, if I believe it correctly). I suggest we stipulate this will




1
 Copies of the November 30, 2020 Notices of Deposition and accompanying letters from the plaintiff to defense
counsel are attached hereto as Exhibit A.
2
  The e-mail communications between the plaintiff and defense counsel regarding the scheduling of depositions are
attached hereto as Exhibit B.


                                                       2
            Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 3 of 9




suffice.” (Ex. B, p. 1-2.) The plaintiff also attached new deposition notices with the Zoom access

information.3

           On Thursday December 3, 2020, defense counsel indicated that he had lined up Dean

Schenker and Dean Insley for December 14 and December 16 as requested by the plaintiff. After

agreeing to conduct the depositions via Zoom, defense counsel explained that it was improper for

the plaintiff, as a party, to administer an oath to witnesses. Defense counsel also noted that the

plaintiff had repeatedly ignored the requests to identify the name and address of his certified court

reporter and again asked for that information. Defense counsel requested that the plaintiff respond

by the end of the weekend, giving the plaintiff three full days to respond. Defense counsel

informed the plaintiff that if an agreement on the person administering the oath and the identity of

the court reporter was not reached, defense counsel would release the witnesses from their time

commitment and file a motion. (Ex. B, p. 1.) As of the filing of this motion, five days since the

last communication requesting the identity of the plaintiff’s court reporter, the plaintiff has still

refused to respond to defense counsel’s e-mail.

           From the foregoing e-mail correspondence, it appears that the plaintiff intends to

administer the oath to the witnesses and serve as the court reporter when he conducts the

depositions. The plaintiff’s filings in this case also support this conclusion. The plaintiff

previously submitted to the Court a copy of a purported “deposition transcript” where he claimed

to have appeared to take the deposition of Keshav Raghavan on September 1, 2020.4 The

“transcript” states that it was transcribed from a “digital recording,” with the plaintiff himself

certifying that the transcript “is a true, accurate and unedited record of the proceedings.” (Ex. D,


3
    The December 2, 2020 Notices of Deposition are attached hereto as Exhibit C.
4
    A copy of the plaintiff’s submission is attached hereto as Exhibit D.


                                                             3
        Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 4 of 9




p. 1, 9.) It is apparent that the plaintiff intends to conduct the depositions of the Yale witnesses in

the same manner, i.e., administering the oath, recording the testimony, and questioning the

witnesses. This is impermissible under the Federal Rules of Civil Procedure.

       Rule 30(b)(5) of the Federal Rules of Civil Procedure provides that, unless the parties

stipulate otherwise, a deposition must be conducted before an officer appointed or designated

under Rule 28. Rule 28(a)(1) states that a deposition must be taken before an officer authorized

to administer oaths or a person appointed by the court where the action is pending to administer

oaths and take testimony. Rule 28(c) then places limitations on who may serve as an officer in a

given action: “A deposition must not be taken before a person who is any party’s relative,

employee, or attorney; who is related to or employed by any party’s attorney; or who is financially

interested in the action.” Even if the plaintiff is authorized to take an oath in the State of

Connecticut as he claims, Rule 28(c) prohibits the plaintiff from administering the oath in any

depositions conducted in this action because the plaintiff is acting as his own attorney and is

obviously financially interested in this action. Although Rules 29 and 30(b)(5) permit the parties

to stipulate that a deposition may be taken before any person, the defendants do not agree that the

plaintiff can serve as the officer before whom the depositions are taken in this action. In order to

facilitate the depositions, defense counsel offered to stipulate that defense counsel give the oath to

the witnesses, but the plaintiff refused to respond to that e-mail. (Ex. B, p. 1.)

       The defendants also do not agree to have the plaintiff serve as the individual who records

and certifies the accuracy of the witness’ testimony. Rule 30(f)(1) provides that the “officer must

certify in writing that the witness was duly sworn and that the deposition accurately records the

witness’ testimony. The certificate must accompany the record of the deposition.” Rule 30(f)(3)

provides that, unless otherwise stipulated, the officer must retain a copy of the recording of a



                                                  4
        Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 5 of 9




deposition and, when paid reasonable charges, furnish a copy of the transcript to any party or the

deponent. The plaintiff thus far has refused to identify his court reporter or to even state that he

has engaged a court reporter. Instead, it appears that the plaintiff intends to serve as the court

reporter without the agreement of the defendants. If the plaintiff agrees to have defense counsel

administer the oath, the defendants would have no objection to the plaintiff retaining a certified

court reporter who is not authorized to give an oath in Connecticut. However, the defendants do

not agree to permit the plaintiff to administer the oath to Yale’s employees, nor are the defendants

proceeding with the depositions in the absence of a qualified court stenographer.

       Contrary to the Federal Rules of Civil Procedure, and without the defendants’ agreement,

the plaintiff intends on being the officer before whom the depositions are taken. Since the plaintiff

has refused to identify a certified court reporter to take the oath and to transcribe the testimony,

the defendants’ motion to quash the depositions of Dean Insley, Dean Schenker and the

representative of Yale University should be granted.

II.    Depositions Should Be Stayed Until After the Court Rules on the Defendants’ Motion
       to Dismiss

       Given plaintiff’s refusal to identify a court stenographer or an officer to administer the oath

to the witnesses and to certify the accuracy of the transcripts produced at the depositions, the

defendants renew their request to stay depositions until after the Court rules on the pending motion

to dismiss. This request was initially made on May 12, 2020. See, ECF No. 94. On May 28, the

Court granted the defendants’ Motion to Stay Discovery Pending Resolution of the Defendants’

Motion to Dismiss in part and ordered that depositions could not proceed until August 1, 2020.

See, ECF No. 104. The Court then granted in part the defendants’ August 26, 2020 Motion for

Order re Discovery Process on September 3, 2020, ruling that all deposition discovery was stayed

until the Court ruled on the outstanding discovery motions. See, ECF No. 155. On October 26,

                                                 5
        Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 6 of 9




2020, the Court addressed the remainder of the defendants’ August 26, 2020 motion. With regard

to depositions, the Court ruled that depositions could be noticed starting fourteen days after the

Court’s order, i.e. November 9, 2020, as long as the parties did not contemplate further paper

discovery or a motion to compel. See, ECF No. 174, p. 25-26. The plaintiff first noticed the

depositions of Dean Schenker, Dean Insley, and Yale University on November 30, 2020. As

explained above, the plaintiff’s refusal to retain a certified court reporter authorized to administer

an oath in Connecticut has rendered the parties unable to agree to proceed with the noticed

depositions at this time. Given the upcoming holidays and winter break, the witnesses will be

unavailable for depositions until January, 2021.

       The defendants’ motion to dismiss has been pending for seven months. The defendants

initially filed their motion on May 6, 2020. (ECF No. 90.) The plaintiff’s response was due May

27, 2020. On May 22, 2020, the plaintiff moved for a thirty-day extension of time through June

22, 2020 to respond to the defendants’ motion to dismiss, which motion the Court granted on May

29, 2020. (ECF Nos. 98, 104.) The plaintiff did not file a response to the defendants’ motion to

dismiss by June 22, 2020. Instead, he moved for leave to file a second amended complaint, but

did not attach the proposed Second Amended Complaint. (ECF No. 110.) On September 17, 2020,

the Court ordered the plaintiff to file the proposed Second Amended Complaint and an opposition

to the defendants’ motion to dismiss within fourteen days. (ECF No. 161.) On October 2, 2020,

the day after the deadline for filing his Second Amended Complaint, the plaintiff moved for an

extension to October 9, 2020 to file his Second Amended Complaint, which the Court granted

nunc pro tunc. (ECF Nos. 167, 172.) After the plaintiff filed his Second Amended Complaint on

October 9, 2020, the Court gave the defendants an opportunity to oppose the plaintiff’s motion to

amend his complaint. (ECF No. 173.) The Court then allowed the plaintiff to proceed on the



                                                   6
        Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 7 of 9




Second Amended Complaint over the defendants’ objection and granted the defendants twenty-

one days to file a new motion to dismiss or indicate their reliance on the pending motion to dismiss.

(ECF No. 176.) The defendants filed their motion to dismiss on November 23, 2020. (ECF No.

185.) The plaintiff’s response is due December 14, 2020 and the defendants have until December

28, 2020 to file a reply. The Court ordered that no extensions will be permitted. See, ECF No.

176. This case history reveals that the plaintiff has been afforded ample time to present his

allegations to the Court and to oppose the defendants’ motion to dismiss.

       It is now apparent based upon the plaintiff’s filings that the premise of this action is an

allegation – offered without a scintilla of evidence to support it – that the Committee on Honors

and Academic Standing does not exist and that only Dean Schenker considered and decided the

plaintiff’s petition challenging his involuntary withdrawal. Not only is there no evidence to

support this allegation, but it flies in the face of a plethora of uncontradicted documentary evidence

offered by the plaintiff himself in support of his application for a temporary injunction. See, ECF

No. 23, Exhibits 1, 14, 22, 23. While courts routinely give pro se plaintiffs substantial leniency,

at some point, this Court should consider the considerable cost and disruption to the defendants

and to the court system itself. This Court has already been burdened with more motion practice

than was warranted. Federal courts across the country have dismissed cases filed by the President

of the United States when they were not supported by the evidence. The present plaintiff should

be treated no more favorably. The evidence already submitted by both parties in this demonstrates

that the plaintiff cannot possibly prevail on his claims. The defendants have expended an

inordinate amount of time and expense defending this action. They should not be burdened further

when the plaintiff refuses to cooperate and conduct depositions in the normal course, i.e., before a

certified court reporter authorized to administer an oath in Connecticut.



                                                  7
        Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 8 of 9




       A stay of depositions until after the Court rules on the defendants’ motion to dismiss will

not prejudice the plaintiff. In the notice directed to Yale University, the plaintiff requested that

Yale University identify and designate the individual most knowledgeable to testify on the

following topics: (1) Yale’s policies, procedures, and practices related to voluntary and involuntary

withdrawals of undergraduate students from Yale College from 2013 to the present; (2) Yale

College’s 2015 reforms of withdrawal and reinstatement policies, procedures, and practices; and

(3) The administrative oversight over Committee on Honors and Academic Standing at Yale

College. (Ex. A, p. 11; Ex. C, p. 11.) The most knowledgeable person on these topics is Dean

Schenker. Therefore, just two depositions will be conducted by the plaintiff, i.e., those of Dean

Schenker and Dean Insley. The defendants only wish to depose the plaintiff. Since trial of this

matter has not yet been scheduled and the depositions are limited to seven hours for parties and

four hours for non-parties, there is an abundance of time to complete both depositions following

the Court’s decision on the defendants’ motion to dismiss and prior to trial, in the event that the

Court denies the motion to dismiss.

       Since the plaintiff has been afforded every opportunity to present his claims to the Court,

the defendants’ motion to dismiss has been pending for seven months, and briefing will be

completed before the depositions will be able to proceed, the defendants’ motion for a stay of

depositions until after the Court rules on the motion to dismiss should be granted.

                                         CONCLUSION

       For the foregoing reasons, the defendants move to quash the depositions of Dean Schenker,

Dean Insley, and a representative of Yale University. The defendants further request a stay of

depositions until after the Court rules on the defendants’ motion to dismiss.




                                                 8
        Case 3:20-cv-00133-JCH Document 192-1 Filed 12/07/20 Page 9 of 9




                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road, Suite 306
                                                Guilford, CT 06437
                                                Telephone: (203) 458-9168
                                                Fax: (203) 458-4424
                                                Email: pnoonan@ddnctlaw.com




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




                                                  9
